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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 ABERDEEN DIVISION

ANDREW WATSON                                                                             PETITIONER

V.                                                                         NO. 1:21-CV-00180-SA-RP

M.D.O.C./M.T.C.                                                                     RESPONDENT(S)

                                                ORDER

       Petitioner is a state prisoner proceeding pro se and has filed a petition for writ of habeas

corpus. Petitioner is required to either pay the filing fee of $5.00 or submit a proper request to proceed

in forma pauperis. Petitioner will be provided the opportunity to submit either the $5.00 payment of

the filing fee or the proper request to proceed in forma pauperis. Therefore, it is

       ORDERED:

       That within 30 days petitioner is directed to either pay the filing fee with a money order or a

check issued from his prison inmate account or fill out the attached application to proceed in forma

pauperis, complete the authorization for release and have the authorized officer responsible for

overseeing his prison account fill out the certificate of account, and mail to the Clerk's Office.

       Petitioner is directed to acknowledge receipt of this order by signing the enclosed

acknowledgment form and returning it to the court within 14 days of this date. Petitioner is also

warned that his failure to comply with the requirements of this order may lead to the dismissal of his

petition for failure to prosecute and for failure to comply with an order of the court.

       THIS the 30th day of November, 2021.


                                                       /s/ Roy Percy
                                                       UNITED STATES MAGISTRATE JUDGE
